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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

RONALD MITCHELL, JULIA JONES,                 )
PHILLIP JONES, & DEMETRIUS JONES              )
                                              )
             Plaintiffs,                      )
                                              )
      vs.                                     ) 18-cv-01630
                                              )
CITY OF CHICAGO,                              ) JURY DEMANDED
a Municipal Corporation,                      )
& Chicago Police Officers                     )
ANTHONY BRUNO #12212                          )
DURAND LEE #18858                             )
RICO CARTER #5068                             )
WILLIAM LEPINE #7736                          )
ARMANDO UGARTE #15050                         )
ERIK SHEARER #8214                            )
JOSEPH PAPKE #4904 &                          )
BRIAN SCHNIER #1273,                          )
                                              )
             Defendants.                      )

                                    COMPLAINT


The Plaintiffs, by and through their attorneys of DVORAK LAW OFFICES, LLC,
hereby complain against the above-captioned Defendants, and state as follows:

Jurisdiction/Venue

    1. This incident occurred/began on or about March 18, 2016 in Chicago, Cook

       County, Illinois.

    2. The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42

       U.S.C. § 1983, § 1988, the judicial code 28 U.S.C. § 1331, and § 1343(a); the

       Constitution of the United States, and pendent jurisdiction, as provided
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      under 28 U.S.C. § 1367(a).

   3. Venue is proper under 28 U.S.C. § 1391(b). On information and belief, all of

      the parties reside in this judicial district, and the events giving rise to the

      claims asserted herein all occurred within the district.

Parties

   4. The Plaintiffs, Ronald Mitchell, Phillip Jones, Julia Jones, and

      Demetrius Jones, live in Chicago, Illinois, located in the Northern

      District of Illinois.

   5. Defendant City of Chicago is a municipal corporation located in Cook

      County, Illinois.

   6. At all relevant times, Officers A. Bruno #12212, D. Lee #18858, R.

      Carter #5068, W . Lepine #7736, A. Ugarte #15050, E. Shearer #8214, J.

      Papke #4904, and, B. Schnier #1273 (hereinafter, the “Defendant

      Officers”) were employed by the Defendant City and were acting under

      color of law.

   7. On March 18, 2016, Defendants, acting without consent, probable cause

      or lawful justification, utilized legally insufficient warrants to search

      the homes of the four Plaintiffs at 7309 King Drive, in Chicago, Illinois,

      a building with three units. The individual defendant officers, including

      but not limited to Defendant Bruno, the attesting officer for the search

      warrants, knew that the information presented to the judge to obtain

      the warrants was false and/or was presented in reckless disregard for

      the truth.

   8. A warrant for the search of Plaintiff Demetrius Jones’ apartment
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   wrongly identified his apartment as the second-floor unit, when in fact

   Demetrius Jones actually resides in the first-floor unit. A warrant for

   the search of Plaintiff Phillip Jones’ apartment wrongly identified his

   apartment as the first-floor unit, when in fact Phillip Jones and his

   mother, Plaintiff Julia Jones, reside on the second floor.

9. No warrant authorized the search of the garden-level (basement) apartment

   where Plaintiff Mitchell resides.

10. The Defendant Officers searched the garden unit without probable cause, or

   even the semblance of legal justification, breaking Mr. Mitchell’s door, and

   throwing the contents of his apartment into total disarray.

11. Upon information and belief, Defendant Officer Lee breeched the first-floor

   apartment, forcing the door open; the other Defendant Officers, named

   above, followed him to the unit, and thereafter caused damage to property.

   Similarly, Defendant Officer Lee breeched the second-floor unit, forcing the

   door open before the other Defendant Officers, named above, followed him to

   the unit, and thereafter caused damage to property.

12. Upon information and belief Officer Lee also breeched the garden-level unit,

   as described above, breaking the door, and the other Defendant Officers,

   named above, followed him into the unit, causing damage to property.

13. Upon information and belief, Defendant Schnier, a sergeant, was present on

   the scene and supervised the activities of each and every other Defendant

   Officer, with respect to the incidents described in this complaint.

14. Upon information and belief, Defendant Officers, acting without probable

   cause, or legal justification, and acting at the direction of Defendant Schnier,
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   unlawfully seized the persons of Plaintiff Phillip Jones and Plaintiff

   Demetrius Jones, and detained them against their will, at or about the Third

   District CPD facility in Grand Crossing, at or about the 7000 block of South

   Cottage Grove, in Chicago Illinois, throughout the evening of March 18, 2016

   and into early Morning of March 19, 2016, before releasing them.

15. The conduct of the Defendant Officers described herein caused the Plaintiffs

   injuries including emotional pain and suffering, and damage to property.

16. Each and every Plaintiff’ brings a claim against each and every Defendant

   Officer for violating the Plaintiffs’ constitional rights to be free of

   unreasonable searches.

17. Each and every Plaintiff’ brings a claim against each and every Defendant

   Officer for failing to intervene to prevent his/her fellow Defendant Officers,

   including but not limited to Defendant Lee, from violating the Plaintiffs’

   rights to be free of unreasonable searches, despite their opportunity and

   duty to so intervene.

18. Each and every Plaintiff brings a claim against Defendant Schnier, a

   sergeant, for his own conduct in causing the unlawful searches described

   above by directing, instructing, ordering, or otherwise encouraging the

   activities of the other Defendant Officers who were acting under his direct

   supervision.

19. Plaintiffs Demetrius Jones and Phillip Jones bring false arrest claims

   against each and every Defendant Officer for causing their persons to be

   unlawfully and unreasonably seized, as described above.

20. Plaintiffs Demetrius Jones and Phillip Jones similarly each bring claims
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   against each and every Defendant Officer for failing to intervene to

   prevent said unlawful seizures of Plaintiffs Demetrius Jones and Phillip

   Jones’ persons, despite having an opportunity to do so.

21. Plaintiffs Demetrius Jones and Phillip Jones each bring a claim against

   Defendant Schnier for causing the unlawful seizures of their persons, as

   described above, though his own conduct in directing, instructing,

   ordering, or otherwise encouraging the activities of the other Defendant

   Officers, who were acting under his supervision.

22. Each and every Plaintiff brings a Monell claim against the City of Chicago, for

   the unlawful searches of their homes, which were proximately caused by one

   or more interrelated express and/or de facto policies, practices, and/or

   customs of the Defendant City of Chicago and its police department. Upon

   information and belief, those torts were committed, pursuant to a de facto

   policy and/or express policy and/or custom of turning a blind eye, and

   otherwise condoning police misconduct (including but not limited to the

   unlawful searches of Chicago residents’ homes) encouraging and thereby

   proximately causing constitutional violations, including the damages and

   injuries alleged by the Plaintiffs in this Complaint; moreover the above

   described constitutional torts were caused by the Defendant City’s failure to

   train its police officers to operate within the scope of a search warrant in

   cases involving multi-unit residential buildings.

23. Plaintiffs Phillips Jones and Demetrius Jones each bring a Monell claim

   against the City of Chicago, for the unlawful seizure of their persons, which

   were proximately caused by one or more interrelated express and/or de facto
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      policies, practices, and/or customs of the Defendant City of Chicago and its

      police department. Upon information and belief, those torts were committed,

      pursuant to a de facto policy and/or express policy and/or custom of turning a

      blind eye, and otherwise condoning police misconduct (including but not

      limited to the unlawfully and unreasonably detaining targets of unlawfully

      obtained or otherwise defective search warrants) encouraging and thereby

      proximately causing constitutional violations, including the damages and

      injuries alleged by the Plaintiffs in this Complaint;

   24. The Plaintiffs all bring Illinois state indemnification claims against the

      Defendant City of Chicago as, in Illinois, public entities are directed to pay

      any tort judgment for compensatory damages for which employees are liable

      within the scope of their employment activities. Defendant City of Chicago is

      the indemnifying entity for the actions of the individual Defendant Officers

      described herein, who undertook their actions while under color of law, and

      in the course and scope of their employment with the Defendant City of

      Chicago.

WHEREFORE, the Plaintiffs demands compensatory damages against the

Defendants, as well as the costs of this action, plus attorney’s fees, and any and

other additional relief as this court deems equitable and just. In addition, the

Plaintiff seeks punitive damages against the individual Defendant Officers



THE PLAINTIFF DEMANDS TRIAL BY JURY.




                          s/Adrian Bleifuss Prados
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                    Adrian Bleifuss Prados
                    DVORAK LAW OFFICES, LLC
                    900 W. Jackson Suite 5W
                    Chicago, IL 60607
                    773-641-4667
